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                         IN THE UNITED STATES DISTRICT COURT
                             For The Eastern District Of California

  UNITED STATES OF AMERICA,                      )   Case No. 1:18-CR-00073-LJO-SKO
                                                 )
                      Plaintiff,                 )   WAIVER OF DEFENDANT’S
  v.                                             )   PRESENCE (Limited Proceedings);
                                                 )   and ORDER
  Juan Gonzalez Mejia                   ,        )
                                                 )
                     Defendant.                  )
                                                 )

          Pursuant to Federal Rule of Criminal Procedure 43(b)(2) and 43(b)(3), the Defendant having been
 advised of the right to be present at all stages of this criminal case hereby requests that this Court proceed in
 Defendant’s absence on every occasion that the Court may permit, except for entry of a guilty or nolo
 contendere plea, trial and sentencing. Defendant agrees that Defendant’s interests shall be represented at all
 times by the presence of Defendant’s attorney the same as if Defendant were personally present and requests
 that this Court allow Defendant’s attorney to represent Defendant’s interests at all times when Defendant is
 absent. Defendant further agrees that an order to the Defendant's attorney that Defendant's presence is required
 at a particular hearing will be deemed notice to the defendant of the requirement of the Defendant’s appearance
 at court hearing on the date and time ordered to appear.

          As a result, the Defendant acknowledges that it is Defendant’s responsibility to know of all future court
 dates and to stay in close contact with Defendant’s counsel prior to and immediately after Defendant’s hearing.
 Defendant also acknowledges that Defendant is required to update the Court and Defendant’s counsel of any
 change of address and Defendant’s counsel of any change in contact information. Defendant acknowledges that
 a failure to abide by any of these requirements may result in this waiver being vacated by the Court.

         Defendant acknowledges that a failure to appear at a hearing for which the Defendant was ordered to
 appear, even if the Defendant’s counsel is unable to advise Defendant of the hearing, will result in the issuance
 of a warrant for the Defendant’s arrest and may result in additional criminal charges.

 I agree to the terms set forth above and agree to be in contact with my attorney and know that a failure to
 appear by me when ordered to do so, even when not present at the hearing for which I am ordered to appear,
 or when the hearing involves the entry of a guilty or nolo contendere plea, trial and sentencing will result in a
 warrant for my arrest. I also acknowledge that counsel will act on my behalf when absent from court
 proceedings but that I must be present when ordered by the court for a guilty or nolo contendere plea, trial,
 and sentencing. I acknowledge that I can personally appear at any hearing associated with my case if I so
 choose.

 DATED: Aug 3, 2018                                                  /s/ Juan Gonzalez Mejia
                                                                     DEFENDANT
 I acknowledge the foregoing.

 DATED: Aug 3, 2018                                                  /s/ Jeffrey T. Hammerschmidt
                                                                     DEFENDANT’S COUNSEL
                                                     ORDER
 IT IS HEREBY ORDERED that pursuant to Fed. R. Crim. P. 43(b)(2) and 43(b)(3), Defendant’s
 appearance is excused at any and all criminal proceedings associated with this case until ordered to
 appear.
IT IS SO ORDERED.

   Dated:      August 3, 2018                               /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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ED Cal (Fresno Division)- Mis 2 (Rev. 5/14)- Waiver Of Defendant’s Presence (Limited Proceedings) and Order
